
60 So.3d 505 (2011)
Jerell Jacquez WILLIAMS, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-0156.
District Court of Appeal of Florida, First District.
April 21, 2011.
Ralph R. Deas, Jasper, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Because the notice of appeal was not timely filed as required by Florida Rule of Appellate Procedure 9.110(d), the appeal is hereby dismissed as untimely. See Proctor v. State, 845 So.2d 1007 (Fla. 5th DCA 2003).
WEBSTER, ROBERTS, and WETHERELL, JJ., concur.
